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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

LOS AMIGOS FIVE, INC. and
MANUEL BALCAREL-VELIZ,

Plaintiffs,
v. Civil Action No. 3:18cv253
CANOPIUS US INSURANCE, INC.,

Defendant.

MEMORANDUM OPINION
This matter comes before the Court on the Motion to Remand filed by Plaintiffs Los

Amigos Five, Inc. (“Los Amigos”) and Manuel Balcarel-Veliz (collectively, “Plaintiffs”). (ECF
No. 4.) Plaintiffs move to remand this case to the Circuit Court for the City of Richmond (the
“Richmond Circuit Court”) for lack of subject matter jurisdiction Defendant Canopius US
Insurance, Inc. (“Canopius”) opposes the remand. (Resp., ECF No. 7.) Plaintiffs did not file a
Reply and the time to do so has expired. The Court dispenses with oral argument because the
materials before it adequately present the facts and legal contentions, and argument would not
aid the decisional process. The matter is ripe for disposition The Court exercises jurisdiction
pursuant to 28 U.S.C. § 1332(a).1 For the reasons that follow, the Court will deny the Motion to

Remand.2

 

l “'I`he district courts shall have original jurisdiction of all civil actions where the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between . . . citizens of different States.” 28 U.S.C. § 1332. Plaintiffs are both citizens of
Virginia, Canopius is a citizen of Delaware and Illinois,~ and the Complaint alleges damages
exceeding $75,000.

2 Because Canopius properly removed this case, the Court also will deny Plaintiffs’
request for attorneys’ fees for improper removal.

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I. Procedural and Factual Background

The Motion to Remand involves a suit that Plaintiffs filed in the Richmond Circuit Court
on April 2, 2018 against Canopius. The Complaint seeks a declaratory judgment of Canopius’
contractual obligation under Policy Number OU8010004545 (the “Insurance Policy”) to defend
and to indemnify Los Amigos in a separate personal injury case between Balcarel-Veliz and Los
Amigos (the “Underlying Litigation”), filed June 17, 2017.3 (Compl. 2-3, ECF No. l-l .)
Although the instant Complaint does not articulate an amount of indemnification sought, the
Underlying Litigation complaint “demands judgment against [Los Amigos], in the sum of
[$75,000].” (Underlying Litigation Compl. 1-2.) Plaintiffs also seek an award of Plaintiffs’
costs and all other relief to which they may be entitled. (Compl. 3.)

Canopius timely removed the declaratory judgment action from the Richmond Circuit
Court, asserting diversity jurisdiction under 28 U.S.C. § l332(a). (Notice Removal 1111 5-14,
ECF No. l.) Plaintiffs petition this Court to remand the case to the Richmond Circuit Court for
lack of subject matter jurisdiction, and request costs and attomeys’ fees under 28 U.S.C.

§ 1447(c). Plaintiffs’ Motion to Remand makes no reference to fees or other costs related to
Canopius’ obligation to defend Los Amigos in the Underlying Litigation, Instead, Plaintiffs
solely contend that because Balcarel-Veliz seeks exactly $75,000 in the Underlying Litigation,

the amount in controversy in this suit does not exceed $75,000 as required for diversity

 

3 The Underlying Litigation seeks redress for personal injuries that Balcarel-Veliz
sustained at Restaurante Amigos, a restaurant and nightclub operated by Los Amigos.
(Underlying Litigation Compl. 111[ l, 3, 6, ECF No. 3-3.) On February 6, 2016, an altercation
occurred in the bar area of Restaurante Amigos, and a security guard employed by Los Amigos
removed Balcarel-Veliz from the premises. Balcarel-Veliz asserts that he sustained severe
bodily injuries in the course of his removal and demands $75,000.

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jurisdiction under 28 U.S.C. § l332(a).4 (Mem. Supp. Mot. Remand l, ECF No. 4-1.) Plaintiffs
posit that “[t]he amount in controversy is $75,000[,] as determined by the prayer for relief in the
Underlying Litigation.” (Id. 3.)

Canopius opposes the Motion to Remand, arguing that in this suit, in addition to the
$75,000 indemnification, Los Amigos seeks to enforce Canopius’ contractual duty to defend it
against covered losses under the Insurance Policy.5 Specifically, this suit seeks “a declaration
that Defendant Canopius is obligated to defend and to indemnify Plaintiff Los Amigos in the
Underlying Litigation.” (Compl. 3.) Plaintiffs’ assertion that the value of the suit is $75,000,
according to Canopius, “does not account for the fees and costs that [Canopius] would incur to
defend Los Amigos against the Underlying Action.” (Resp. 1[ 5, ECF No. 7.) Combined,
Canopius argues, the value of the indemnification and defense would exceed $75,000.

Plaintiffs did not file a Reply, leaving Canopius’ argument about fees unaddressed.

 

4 Plaintiffs do not contest that parties are diverse Within the meaning of 28 U.S.C.
§ l332(a).

5 Canopius also filed an Answer in this federal court on May 3, 2018, approximately two
Weeks after the Notice of Removal. (ECF No. 3.) In its Answer, which the Court does not
consider in deciding the Motion to Remand, Canopius does not deny that the Insurance Policy
exists and requires it to indemnify and defend Los Amigos under certain circumstances Instead,
Canopius retirtes any claim that the Insurance Policy requires it to either indemnify or defend
Los Amigos in the Underlying Litigation here.

Specifically, in its Affirmative Defenses, Canopius denotes various endorsements and
exclusions in the Insurance Policy, arguing that the cause of action in the Underlying Litigation
falls outside the scope of the Insurance Policy. Canopius attaches a copy of the Insurance Policy
to its Answer. (Answer Ex. A Pt. 1, ECF No. 3-1; Answer Ex. A Pt. 2, ECF No. 3-2). 'l`he Court
does not consider the merits of Plaintiffs’ claims or Canopius’ defenses to determine the amount-
in-controversy challenge here.

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II. Legal Standard for Removal and Remand

Under 28 U.S.C. § 1441(a),6 a defendant may remove a civil action to a federal district
court if the plaintiff could have originally brought the action in federal court. 28 U.S.C.
§ 1441(a). Section 1446 delineates the procedure for removal, including the requirement that the
defendant file a notice of removal in the federal district court and the state court. See 28 U.S.C.
§§ 1446(a), (d). The state court loses jurisdiction upon the removal of an action to federal court.
28 U.S.C. § l446(d) (“[T]he State court shall proceed no further unless and until the case is
remanded.”). The removability of a case “depends upon the state of the pleadings and the record
at the time of the application for removal . . . .” Ala. Great S. Ry. Co. v. Thompson, 200 U.S.
206, 216 (1906); see also Pullman Co. v. Jenkz`ns, 305 U.S. 534, 537 (1939) (“the right to remove
. . . [is] determined according to the plaintiffs’ pleading at the time of the petition for removal.”).

“The party seeking removal bears the initial burden of establishing federal jurisdiction.”
Abraham v. Cracker Barrel Old Country Store, Inc., No. 3:1 lcv182, 2011 WL 1790168, at *l
(E.D. Va. May 9, 2011) (citing Mulcahey v. Columbia Orgam`c Chem. Co., 29 F.3d 148, 151
(4th Cir. 1994)). No presumption favoring the existence of federal subject matter jurisdiction
exists because federal courts have limited, not general, jurisdiction. Id. (citing Pinkley Inc. v.

City of Frederick, 191 F.3d 394, 399 (4th Cir. 1999)). In deference to federalism concems,

 

6 Section 1441(a) provides, in pertinent part:

[A]ny civil action brought in a State court of which the district
courts of the United States have original jurisdiction, may be
removed by the defendant or the defendants, to the district court of
the United States for the district and division embracing the place
where such action is pending.

28 U.s.c. § 1441(a).

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courts must construe removal jurisdiction strictly. Id. (citing Mulcahey, 29 F.3d at 151). “If
federal jurisdiction is doubtful, a remand is necessary.” Id. (quoting Mulcahey, 29 F.3d at 151).

A federal district court has diversity jurisdiction over “all civil actions where the matter
in controversy exceeds . . . $75,000 . . . and is between . . . [c]itizens of different states.” 28
U.S.C. § 1332(a)(1). When diversity of citizenship provides the grounds for removal, then “the
sum demanded in good faith in the initial pleading shall be deemed to be the amount in
controversy. . . .” 28 U.S.C. § 1446(c)(2). “The notice of removal may assert the amount in
controversy if the initial pleading seeks . . . nonmonetary relief.” 28 U.S.C. § 1446(c)(2)(A).
When the notice of removal, as here, asserts the amount in controversy, “removal of the action is
proper . . . if the district court finds, by the preponderance of the evidence, that the amount in
controversy exceeds [$75,000].” 28 U.S.C. § 1446(c)(2)(B); accord Francis v. Allstate Ins. Co.,
709 F.3d 362, 367 (4th Cir. 2013) (“If a complaint ‘does not allege a specific amount of
damages, the removing defendant must prove by a preponderance of the evidence that the
amount in controversy exceeds [$75,000].”’ (quoting De Aguilar v. Boez'ng Co. , 11 F.3d 55, 58
(5th Cir. 1993))).

“In actions seeking declaratory or injunctive relief, it is well established that the amount
in controversy is measured by the value of the object of the litigation.” Hunt v. Washz'ngton State
Apple Adver. Comm ’n, 432 U.S. 333, 347 (1977); see McNutt v. Gen. Motors Acceptance Corp.
of Indiana, 298 U.S. 178, 181 (1936) (noting the “principle that jurisdiction is to be tested by the
value of the object or right to be protected against interference”); Francis, 709 F.3d at 367;
Liberty Mut. Fire Ins. Co. v. KB Home, Inc., No. 4:13CV98, 2013 WL 5739799, at *l (E.D. Va.
Oct. 22, 2013). Although the amount-in-controversy calculation does not generally include

attomeys’ fees, “courts have created two exceptions to this rule: ‘(l) if the fees are provided for

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by contract; or (2) if a statute mandates or allows payment of [attorneys’] fees.”’ Francis, 709
F.3d at 368 (quoting ]5-102 Moore ’s Federal Practice, Civil § 102.106(6)(a)).
III.
Analysis: Diversity Jurisdiction Exists Because the Plaintiffs Seek Both
Indemnification and Legal DefeLse. a CorLined Value Er_rceedil_lg $75.000

The parties’ jurisdictional disagreement pertains exclusively to whether the amount in
controversy exceeds $75,000 because Plaintiffs concede diversity of citizenship. For the reasons
that follow, the Court concludes that the amount in controversy exceeds $75,000. Because
diversity of citizenship and the amount in controversy meet jurisdictional requirements,
Canopius properly removed the case to this Court. The Court will deny the motion to remand.

Plaintiffs seek two forms of relief in their Complaint: (1) $75,000 of indemnification in
the Underlying Litigation;7 and, (2) a declaration of Canopius’ duty to defend Los Amigos in the

Underlying Litigation,8 To sustain diversity jurisdiction, the Court need only be persuaded that

Canopius’ duty to defend Los Amigos has a non-zero monetary value.9 Existing law and

 

7 In briefing, Plaintiffs preemptiver dispute that the amount sought in the Underlying
Litigation represents a bad faith manipulation of the removal process. Because Canopius does
not raise the issue of bad faith, the Court declines to engage in a sua sponte bad faith analysis.

8 As noted previously, Canopious concedes that “[t]he prospective defense costs for
defending the Underlying Litigation are provided for in the [Insurance Policy], and are
supplementary to the $1 million policy limits,” (Resp. 7), while preserving its argument in its
Answer that provisions of the policy would ultimately eliminate both its duty to indemnify and
defend in this case. Plaintiffs do not deny that fees could be at issue; indeed they seek a
declaration that Canopious has the duty to defend. These positions, taken together, suffice to
establish, certainly by a preponderance of the evidence, that the amount in controversy plausibly
could include fees.

9 Canopius argues that the insurance policy at the crux of the dispute potentially
indemnifies Los Amigos up to $1,000,000. Plaintiffs counter that the relevant amount is
$75,000, the amount demanded in the Underlying Litigation and Which falls below the
jurisdictional minimum. Because the Court concludes that the amount in controversy exceeds
$75,000 due to the combined value of the $75,000 indemnification demand and the invocation of
the duty to defend, the Court need not address Canopius’ “potential indemnification” argument

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common sense persuade the Court that the duty to defend here has value. See Francis, 709 F.3d
at 368.

In actions seeking declaratory judgment, “the amount in controversy is measured by the
value of the object of the litigation.” Hunt, 432 U.S. at 347. Although the Complaint before this
Court cites no specific amounts, all parties agree that the value of indemnification sought in the
Underlying Litigation is $75,000. The Complaint also seeks a declaration of Canopius’
contractual obligation to defend Los Amigos in the Underlying Litigation, Whether the amount
in controversy exceeds $75,000 therefore turns on whether compelling enforcement of the duty
to defend holds monetary value.

The amount-in-controversy calculation generally does not include attomeys’ fees, but
“cotn'ts have created two exceptions to this rule: (1) if the fees are provided for by contract; or
(2) if a statute mandates or allows payment of [attorneys’] fees.” Francis, 709 F.3d at 368
(internal quotations omitted). Here, Plaintiffs seek to enforce Canopius’ contractual duty to both
indemnify and defend Los Amigos in the Underlying Litigation, Should Plaintiffs prevail,
enforcing Canopius’ duty to defend Would necessarily entail compelling Canopius to pay
attomeys’ fees and litigation expenses on Los Amigos’ behalf in the Underlying Litigation, in
addition to any indemnification up to $75,000. Accordingly, as Canopius properly observes, its
“exposure for both defense and indemnity for the Underlying Action clearly exceeds the $75,000
jurisdictional threshold.” (Resp. jj 5 (emphasis in original).)

Case law and common sense mandate this conclusion. The Court of Appeals for the
Fourth Circuit’s decision in Francz's v. Allstate controls the Court’s determination See 709 F.3d
at 366-69. In Francis, the plaintiffs sought a declaratory judgment that their insurer was

required to perform three duties: (l) defend them in an underlying action for defamation; (2)

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indemnify them in the underlying action;10 and, (3) pay for the attomeys’ fees associated with the
declaratory judgment suit.ll Id. at 367. When the insurance provider removed the case to
federal court citing diversity jurisdiction, the plaintiffs moved to remand, asserting that the
$66,347 they had expended on defense fees in the underlying defamation suit did not satisfy the
amount in controversy requirement Ia'. at 366-68. Citing the three forms of relief requested in
the initial complaint, the trial court found that the additional attomeys’ fees likely to be incurred
in pursuing the declaratory judgment suit would satisfy the amount in controversy when
combined with the defense fees Plaintiffs had already expended. Ia'. at 367-69.

No party in Francis had placed evidence on the record regarding the amount of
declaratory judgment attomeys’ fees. Still, the district court found-and the Fourth Circuit
agreed-that “[e]xperience and common sense suggest that the Plaintiffs’ attomeys’ fees in [the
declaratory judgment] case will exceed $8,65 3_-the difference between $75,000 and the $66,347
the Plaintiffs spent in [the underlying action].” Ia'. at 368 (quoting Francis v. Allstate Ins., 869
F.Supp.2d 663, 670 (D.Md. 2012)). Francis thus instructs that if a complaint “does not allege a
specific amount of damages, the removing defendant must prove by a preponderance of the
evidence that the amount in controversy exceeds [$75,000].” Id. at 367 (intemal quotations
omitted).

As in Francis, no evidence exists before this Court regarding the amount of attomeys’

fees associated with defending Los Amigos in the Underlying Litigation, But this Court is

 

l° At the time of removal in Francis, the indemnification issue was moot because the
underlying defamation suit had already been resolved in the defendants’ favor. See Francis, 709
F.3d at 367 .

ll Maryland law allowed for recovery of these fees. See Francis, 709 F.3d at 368 (citing
Bankers & Shz'p. Ins. v. Electro Enter., 287 Md. 641 (1980) and Md. Code Ann., Cts. & Jud.
Proc. § 3-412).

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equally able to conclude that “experience and common sense” establish, certainly by a
preponderance of the evidence, that the attomeys’ fees associated With the defense of Plaintiffs
would exceed zero dollars here. Indeed, the large amount of money that Los Amigos would
likely incur to defend itself in the Underlying Litigation suggests that Los Amigos substantially
values its request to enforce the duty to defend because enforcement Would shift these defense
costs from Los Amigos to Canopius.
IV. Conclusion

Canopius timely removed the Richmond Circuit Court case pursuant to 28 U.S.C.
§ l332(a), which allows removal when “the matter in controversy exceeds the sum or value of
$75,000, exclusive of interest and costs, and is between . . . citizens of different States.” Ia'.
Canopius has established by a preponderance of the evidence that Plaintiffs seek relief exceeding
$75,000 by demanding both indemnification up to $75,000 and a declaration that Canopius
defend Los Amigos in the Underlying Litigation. Given the extant diversity of parties, Canopius
properly removed this action to Federal Court. This Court has jurisdiction to preside over the
matter.

For the foregoing reasons, the Court will deny the Motion to Remand. (ECF No. 4.)

An appropriate order shall issue.

 

Date: )O 5'?/ Z/(` //g United ‘States istrict Judge
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